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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,



       v.                                            Criminal Action No. 21-175 (TJK)

ETHAN NORDEAN et al.,

              Defendants.



                                    SCHEDULING ORDER

       To facilitate the orderly resolution of outstanding pretrial matters, and with the consent of

the parties, it is hereby ORDERED that the following deadlines shall apply in this matter:

   1. A brief hearing to resolve Defendants’ outstanding objections to the Court’s proposed juror

       questionnaire shall take place on December 2, 2022, at 9:30 a.m. via videoconference.

       Upon consideration of Defendant Biggs’s motion at ECF No. 561, Attorney Pattis is

       excused from this hearing. Furthermore, counsel shall notify the Court today if they do not

       waive their clients’ appearance for this brief hearing.

   2. The parties shall begin to meet and confer regarding which jurors to excuse for cause based

       on the pre-voir dire juror questionnaires by December 7, 2022.

   3. A hearing at which the Court will rule on the Government’s and Defendants’ outstanding

       motions in limine shall take place on December 12, 2022, at 1:00 p.m. in Courtroom 11.

       In addition, the parties shall be prepared to discuss the Court’s proposed preliminary jury

       instructions, which it will provide the parties in advance of the hearing.
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   4. The parties shall jointly submit to the Court, at Kelly_Chambers@dcd.uscourts.gov, a list

       of jurors they agree to excuse for cause based on the pre-voir dire juror questionnaires by

       December 14, 2022.

   5. Modifying the Court’s Minute Order of November 28, 2022, Defendants shall satisfy their

       reciprocal discovery obligations, if any, under Rule 16(b) and produce to the Government

       a list of exhibits they may seek to introduce during their case-in-chief by December 15,

       2022.

       It is further ORDERED that jury selection and trial in this matter are CONTINUED until

December 19, 2022, at 9:00 a.m.



       SO ORDERED.



                                                            /s/ Timothy J. Kelly
                                                            TIMOTHY J. KELLY
                                                            United States District Judge



Date: November 30, 2022
